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CERTIFICATE OF MERGER OF DIAM-N-BLU MECHANICAL CORP,

INTO BLUE
DIAMOND SHEET METAL, INC,

PURSUANT TO SECTION 904 OF THE BUSINESS CORPORATION LAW OF THE
STATE OF NEW YORK

Filed by
Campolo, Middleton & McCormlek, LLP
4175 Veterans Memortal Highway, Suite 400
Ronkonkoma, NY 11779
Cust, Ref, #3541-001

Filed with the NYS Department of State on 06/24/2021
Filing Number: 210625000428 DOS Ip: 830654

Case 0-24-0600 /1-ast

06/24/2021 THY 11123 FAX

CERTIFICATE OF MERGER OF DIAM-N-RLU MECHANICAL CORP, INTO BLUE
DIAMOND SHEET METAL, INC, PURSUANT TO SECTION 904 OF THE BUSINESS
CORPORATION LAW OF THE STATE OF NEW YORK

FIRST: The name and jurisdiotion of formation or organization of cach conethiuent entity le: (1) Dism-N-
Blu Mechanloal Corp., a Naw York corporation; and (i) Blue Diamond Sheet Metal, Inc, a New York
corporation.

SECOND: The certificate of incorporation of Diam-N-Blu Mechanical Corp, was originally fiiad with the
New York Departinent of State on February 18, 1988, under the name "Cllmatic Technology Ine." and the
amended cart fieate of Incorporation was filed with the New York Depariment of State on June 10, 1999 to
yeflact fig name change to “Diam-N-Bli Mechnateal Corp," The certifeats of incorporation of Blue
Diamond Shaet Metal, Inc. waa filed with the New York Department of Stare on Marth 25, 1903,

THIRD: The agreement of merger has been approved and executed by each of the domestic entices that
are constituents therate.

FOURTH: The name of the surviving corporation ls Blue Diamond Sheet Metal, Inc.
PIFTH: The merger shall be effeotive on June 24th, 2021,

SIXTH: Tho surviving domeatle corporation may be served with process in this state in any aatlon or
spevial proceeding for the enforcement of ony Iabllity er obligation of any domentic Hmited Hubilley
company, domestic business corporation or domestle other bustnead entity previously amenable to guil In
thig state that {9 to merge and for the enforcement thal ls provided Jn the Business Corporation Law of the
right of members of any domestic Ilmited lability company, shersholders of any domestle baginess
corporation or owners of any domestle other bustness entity to recelve payment for their interests against
the surviving forelgn lbmlsad Hability company.

SEVENTH: Pursuant to Seotlon 623 of the Business Corporation Law or any applicable statute, the
aurviving domestle bushiess corporation will promptly pay to the sharsholders of each domeatic business
corporation or owners of any constituent other business entity the amount, If any, to which they dhall be
antitied under the provisions of the Business Corporation Law and any applicable statute relating to the
right of charsholders and owners to raoalve payment for thelr interest,

MONTH: The Secretary of State is doslgnated ax agent of the surviving corporntion upon whom process
agalnst It may be served, The address withld or without the state to which the Seeratary of State aball mail
a copy of any process agalust the corporation served upon St fs: Blue Diamond Sheet Metal, Ine, 1165
Station Road, Madford, N'Y 11763,

NINTH: The agreement of merger le on file at the place of business of the gurviving corporation at the
following address: Blue Olamond Sheet Motal, Inc, 1165 Statlon Road, Medford, NY 11763. A copy of
the plan of merger will be flunished by the Surviving Corporation to ite shareholders without coat,

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BLUE DIAMOND SHUR METAL,

INC,

Name: h

Title: Chief Financial Officer

DIAM-N-BLU MECHANICAL CORP,

Title: Chief Finanolal Officer

(9542-00 1/3409875/2]

Signature page fo Certifieate af Merger
2

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